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9                                   UNITED STATES DISTRICT COURT
10                                SOUTHERN DISTRICT OF CALIFORNIA
11
                                                             Case No.: 22CV58-BAS (BLM)
12    DENNIS CRIMMINS,

13                                          Plaintiff,       NOTICE AND ORDER FOR EARLY
                                                             NEUTRAL EVALUATION CONFERENCE
14    v.                                                     AND CASE MANAGEMENT
                                                             CONFERENCE
15    NOURYON SURFACE CHEMISTRY, LLC AND
      DOES 1-25,
16
                                         Defendant.
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18
            IT IS HEREBY ORDERED that an Early Neutral Evaluation (“ENE”) of your case will be
19
     held via videoconference on April 25, 2022 at 9:30 a.m. before the Honorable Barbara L.
20
     Major, United States Magistrate Judge.
21
            The following are mandatory guidelines for the parties preparing for the Early
22
     Neutral Evaluation Conference.
23
           1.      Purpose of Conference:         The purpose of the ENE is to permit an informal
24
     discussion between the attorneys and the settlement judge of every aspect of the lawsuit in an
25
     effort to achieve an early resolution of the case. All conference discussions will be informal, off
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     the record, privileged, and confidential.      Counsel for any non-English speaking party is
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     responsible for arranging for the appearance of an interpreter at the conference.
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1          2.      Appearance via Videoconference Required: All parties, adjusters for insured

2    parties, and other representatives of a party having full and complete authority to enter into a

3    binding settlement, and the principal attorneys responsible for the litigation, must be present

4    via videoconference and legally and factually prepared to discuss settlement of the case.

5    Counsel appearing without their clients (whether or not counsel has been given settlement

6    authority) will be cause for immediate imposition of sanctions and may also result in the

7    immediate termination of the conference. Counsel for a government entity is excused from this

8    requirement so long as the government attorney who attends the ENE conference (1) has

9    primary responsibility for handling the case, and (2) may negotiate settlement offers which the
10   attorney is willing to recommend to the government official having ultimate settlement authority.

11          Unless there is good cause, persons required to attend the conference pursuant to this

12   Order shall not be excused from personal attendance. Motions seeking a waiver of the

13   personal appearance requirement must establish good cause and be filed at least

14   five (5) court dates prior to the conference. Failure to appear at the ENE conference will

15   be grounds for sanctions.

16                 a.     The Court will use its official Zoom video conferencing account to hold the

17   ENE. IF YOU ARE UNFAMILIAR WITH ZOOM: Zoom is available on computers through a

18   download on the Zoom website (https://zoom.us/meetings) or on mobile devices through the

19   installation of a free app. 1   Joining a Zoom conference does not require creating a Zoom

20   account, but it does require downloading the .exe file (if using a computer) or the app (if using

21   a mobile device). Participants are encouraged to create an account, install Zoom, and familiarize

22   themselves with Zoom in advance of the ENE. 2 There is a cost-free option for creating a Zoom

23   account.

24
     1Participants should use a device with a camera to fully participate in the video conference. If
25   possible, participants are encouraged to use laptops or desktop computers for the video
26   conference, as mobile devices may offer inferior performance.

27   2   For help getting started with             Zoom,     visit:   https://support.zoom.us/hc/en-
     us/categories/200101697-Getting-Started
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1                  b.      Prior to the start of the ENE, the Court will e-mail each ENE participant an

2    invitation to join a Zoom video conference. Again, if possible, participants are encouraged to

3    use laptops or desktop computers for the video conference, as mobile devices often offer inferior

4    performance. Participants must join the video conference by following the ZoomGov Meeting

5    hyperlink in the invitation. Participants who do not have Zoom already installed on their

6    device will be prompted to download and install Zoom before proceeding when they

7    click on the ZoomGov Meeting hyperlink. Zoom may then prompt participants to enter the

8    password included in the invitation. All participants will be placed in a waiting room until the

9    ENE begins.
10                 c.      Each participant should plan to join the Zoom video conference at least five

11   minutes before the start of the ENE to ensure that the ENE begins promptly at 9:30 a.m. The

12   Zoom e-mail invitation may indicate an earlier start time, but the ENE will begin at

13   the Court-scheduled time.

14                 d.      Zoom’s functionalities will allow the Court to conduct the ENE as it ordinarily

15   would conduct an in-person ENE. That is, the Court will begin the ENE with all participants

16   joined together in a main session. After an initial discussion in the main session, the Court will

17   divide participants into separate, confidential sessions, which Zoom calls Breakout Rooms. 3 In

18   a Breakout Room, the Court will be able to communicate with participants from a single party in

19   confidence. Breakout Rooms will also allow parties and counsel to communicate confidentially

20   without the Court.

21                 e.      No later than April 15, 2022, counsel for each party must send an e-mail

22   to the Court at efile_Major@casd.uscourts.gov containing the following:

23                        i. The name and title of each participant, including all parties and party

24   representatives with full settlement authority, claims adjusters for insured defendants, and the

25   primary attorney(s) responsible for the litigation;

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27   3 For more information on what to expect when participating in a Zoom Breakout Room, visit:
     https://support.zoom.us/hc/en-us/articles/115005769646
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1                       ii. An e-mail address for each participant to receive the Zoom video

2    conference invitation; and

3                       iii. A telephone number where each participant may be reached so that

4    if technical difficulties arise, the Court will be in a position to proceed telephonically instead of

5    by video conference. (If counsel prefers to have all participants of their party on a single

6    conference call, counsel may provide a conference number and appropriate call-in information,

7    including an access code, where all counsel and parties or party representatives for that side

8    may be reached as an alternative to providing individual telephone numbers for each

9    participant.)
10          All participants must display the same level of professionalism during the ENE and be

11   prepared to devote their full attention to the ENE as if they were attending in person. Because

12   Zoom may quickly deplete the battery of a participant’s device, each participant should ensure

13   that their device is plugged in or that a charging cable is readily available during the video

14   conference.

15         3.        Full Settlement Authority Required: In addition to counsel who will try the

16   case, a party or party representative with full settlement authority 4 must be present for the

17   conference. In the case of a corporate entity, an authorized representative of the corporation

18   who is not retained outside counsel must be present and must have discretionary authority to

19   commit the company to pay an amount up to the amount of the Plaintiff's prayer (excluding

20   punitive damages prayers). The purpose of this requirement is to have representatives present

21   who can settle the case during the course of the conference without consulting a superior.

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     4 “Full settlement authority” means that the individuals at the settlement conference must be
     authorized to explore settlement options fully and to agree at that time to any settlement terms
24   acceptable to the parties. Heileman Brewing Co. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th
     Cir. 1989). The person needs to have “unfettered discretion and authority” to change the
25   settlement position of a party. Pitman v. Brinker Int’l, Inc., 216 F.R.D. 481, 485-86 (D. Ariz.
26   2003). The purpose of requiring a person with unlimited settlement authority to attend the
     conference contemplates that the person's view of the case may be altered during the face-to-
27   face conference. Id. at 486. A limited or a sum certain of authority is not adequate. See Nick
     v. Morgan’s Foods, Inc., 270 F.3d 590, 595-97 (8th Cir. 2001).
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1          4.      Confidential ENE Statements Required: On or before April 15, 2022, the

2    parties must submit via fax or email (efile_major@casd.uscourts.gov), confidential

3    statements no more than ten (10) pages 5 in length directly to the chambers of the Honorable

4    Barbara L. Major.       These confidential statements must not be filed or served on

5    opposing counsel. Each party's confidential statement must include the following:

6                  a.        A brief description of the case, including a chronology of the relevant facts

7    and a statement of the principal factual disputes;

8                  b.        A brief description of the legal claims, counterclaims, and defenses

9    asserted, and a statement of the principal contested legal disputes, including references to
10   relevant statutes and legal authority;
11                 c.        A specific and current demand or offer for settlement addressing all relief
12   or remedies sought. If a specific demand or offer for settlement cannot be made at the time
13   the brief is submitted, then the reasons therefore must be stated along with a statement as to
14   when the party will be in a position to state a demand or make an offer. A general statement
15   that a party will “negotiate in good faith” is not a specific demand or offer contemplated by this
16   Order. It is assumed that all parties will negotiate in good faith; and
17                 d.        A brief description of any previous settlement negotiations, mediation
18   sessions, or mediation efforts.
19         5.      New Parties Must be Notified by Plaintiff or Plaintiff's Counsel: Plaintiff

20   or his counsel must give notice of the ENE to parties responding to the complaint after the date

21   of this notice.

22         6.      Case Management Conference: In the event the case does not settle during

23   the ENE, the Court will conduct an Initial Case Management Conference. In preparation for this

24   conference, the parties must

25                      a.      Meet and confer pursuant to Fed. R. Civ. P. 26(f) no later than April 4,

26                              2022.

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28   5   The parties must not append attachments or exhibits to the ENE statement.

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1                  b.       File a Joint Discovery Plan on the CM/ECF system no later than April 15,

2    2022. Agreements made in the Joint Discovery Plan will be treated as binding stipulations that

3    are effectively incorporated into the Court’s Case Management Order. The Joint Discovery Plan

4    must be one document and must address each item identified in Fed. R. Civ. P. 26(f)(3). In

5    addition, the discovery plan must include:

6                          i.      Service: A statement as to whether any parties remain to be served

7    and, if so, a proposed deadline for service;

8                         ii.      Amendment of Pleadings: The extent to which parties, claims, or

9    defenses are expected to be added or dismissed and a proposed deadline for amending the
10   pleadings;
11                       iii.      Protective Order: Whether a protective order is contemplated to

12   cover the exchange of confidential information and, if so, the date by which the proposed order

13   will be submitted to the Court;

14                       iv.       Privilege: The procedure the parties plan to use regarding claims

15   of privilege and whether an order pursuant to Fed. R. Evid. 502 will be sought;

16                        v.       Evidence Preservation: Whether the parties have discussed issues

17   related to the preservation of relevant evidence and if there are areas of disagreement, how the

18   parties are resolving them;

19                       vi.       Electronic Discovery: In addition to the requirements set forth in

20   Fed. R. Civ. P. 26(f)(3)(C), the parties must describe their agreements regarding methodologies

21   for locating and producing electronically stored information and the production of metadata, and

22   must identify any issues or agreements regarding electronically stored information that may not

23   be reasonably accessible (see Fed. R. Civ. P. 26(b)(2)(B));

24                      vii.       Discovery: In addition to the requirements of Fed. R. Civ. P.

25   26(f)(3)(B), the parties must describe the discovery taken to date (if any), any proposed

26   limitations or modifications of the discovery rules, and any identified discovery disputes;

27                      viii.      Related Cases: Any related cases or proceedings pending before

28   another judge of this court, or before another court or administrative body;

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1                       ix.       Scheduling: Proposed dates for fact discovery cutoff, expert

2    designations and disclosures, expert discovery cutoff, filing of dispositive motions, filing class

3    certification motion (if class is alleged), pretrial conference and trial;

4                        x.       Professional Conduct: Whether all attorneys of record for the

5    parties have reviewed Civil Local Rule 2.1 on Professionalism; and

6                       xi.       Miscellaneous: Such other matters as may facilitate the just,

7    speedy, and inexpensive disposition of this matter.

8                  c.      Exchange initial disclosures pursuant to Rule 26(a)(1)(A-D) no later than

9    April 18, 2022.
10         7.      Requests to Continue an ENE Conference: Local Rule 16.1(c) requires that

11   an ENE take place within forty-five (45) days of the filing of the first answer. Requests to

12   continue ENEs are rarely granted. However, the Court will consider formal, written, ex parte

13   requests to continue an ENE conference when good cause exists that make a continuance

14   appropriate. Any request must be filed with the Court and served on opposing counsel. Absent

15   good cause, requests for continuances will not be considered unless submitted in

16   writing no fewer than seven (7) days prior to the scheduled conference.

17          IT IS SO ORDERED.

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19   Dated: 3/7/2022

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1                            NOTICE OF RIGHT TO CONSENT TO TRIAL

2                         BEFORE A UNITED STATES MAGISTRATE JUDGE

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4           In accordance with the provisions of 28 U.S.C. § 636(c), you are hereby notified that a

5    U.S. Magistrate Judge of this district may, upon the consent of all parties, on Form 1A available

6    in the Clerk's Office, conduct any or all proceedings, including a jury or non-jury trial, and order

7    the entry of a final judgment. Plaintiff or his counsel shall be responsible for obtaining the

8    consent of all parties, should they desire to consent.

9           You should be aware that your decision to consent or not to consent is entirely voluntary
10   and should be communicated solely to the Clerk of Court. Only if all parties consent will the
11   Judge or Magistrate Judge to whom the case has been assigned be informed of your decision.
12          Judgments of U.S. Magistrate Judges are appealable to the U.S. Court of Appeals in
13   accordance with this statute and the Federal Rules of Appellate Procedure.
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